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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


   MISTY ARNOLD,

         Plaintiff,

   v.                                                CASE NO.: 8:10-cv-1637-T-23TGW

   NCO FINANCIAL SYSTEMS, INC.,

        Defendant.
   __________________________________/


                                           ORDER

         The parties’ stipulation of dismissal with prejudice (Doc. 5) is APPROVED.

   Pursuant to Rule 41(a), Federal Rules of Civil Procedure, this action is DISMISSED

   WITH PREJUDICE, with each party to bear its own costs and fees. The Clerk is

   directed to (1) terminate any pending motion and (2) close the case.

         ORDERED in Tampa, Florida, on August 17, 2010.
